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                              Exhibit 8
      Case 2:11-cv-01210-JMV-SCM Document 469-11
                                       Curriculum VitaeFiled
                                                        | Grant 06/21/19
                                                                W. McGuire Page 2 of 2 PageID: 19916


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      Grant W. McGuire, Partner

                                                 Grant W. McGuire is a partner of McManimon, Scotland & Baumann, LLC. Grant is a seasoned litigator who has
                                                 successfully tried cases to conclusion in New Jersey’s Federal and State Courts. Over his twenty-plus years of
                                                 experience Grant has represented clients with respect to a broad range of issues, including, but not limited to,
                                                 professional liability defense, employment matters, products liability, insurance coverage issues and premises
                                                 liability. While an experienced trial lawyer, Grant is also well versed in alternative dispute resolution, having
                                                 participated in numerous mediations and arbitrations. Grant’s diverse practice has led to experience that make him
                                                 an asset to clients. His insights have also made Grant a popular choice as local counsel for out of state firms with
                                                 cases pending in New Jersey.

                                                 Before joining McManimon, Scotland & Baumann, LLC, Grant worked with a mid-sized firm in Newark and Roseland,
                                                 New Jersey as an associate (from 1999-2001) and as a partner from (2001-2019). Prior to entering private practice
                                                 Grant worked as an Assistant Prosecutor in the Hudson County Prosecutor’s Office from 1996-1999. Upon
                                                 graduating from Seton Hall Law Grant served as a law clerk to the Hon. Alfred J. Lechner, Jr., United States District
                                                 Court (D.N.J.).

                                                 While always a zealous advocate for his clients, Grant is ever cognizant of the value of civility in litigation.

                                                 Grant was appointed and certified as a civil arbitrator for the United States District Court for the District of New
                                                 Jersey in 2003 and continues to serve in said capacity to the present.
      Grant W. McGuire
      973-622-4868                               Education
      gmcguire@msbnj.com                         Seton Hall University School of Law, J.D.
                                                 Georgetown University, B.A.


                                                 Practice Areas
                                                 Litigation


                                                 Bar Admissions
                                                 New Jersey
                                                 United States District Court, District of New Jersey
                                                 United States Third Circuit Court of Appeals
                                                 United States Supreme Court


                                                 Memberships
                                                 Board of Directors for the Historical Society of the United States District Court for the District of New Jersey
                                                 American Bar Association
                                                 Association of the Federal Bar of New Jersey
                                                 New Jersey State Bar Association
                                                 Morris County Bar Association
                                                 Defense Research Institute
                                                 Association of Defense Trial Attorneys
                                                 Fellow of the American Bar Foundation in 2015


                                                 Honors
                                                 Honored with an AV rating by Martindale-Hubbell since 2012




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